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                       UNITED STATES DISTRICT COURT
             WESTERN DISTRICT OF TENNESSEE
                   WESTERN DIVISION


ACUITY, A MUTUAL INSURANCE               JUDGMENT IN A CIVIL CASE
COMPANY

v.

REED & ASSOCIATES OF TN, LLC,            CASE NO: 15-2140-A
JUSTIN MCKEE, and JACQUELYN
MCKEE




DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.


IT IS SO ORDERED AND ADJUDGED that in accordance with the Order
Denying Plaintiff’s Motion For Summary Judgment And Granting
Defendant’s Cross-Motion For Summary Judgment Regarding The Duty To
Defend entered on August 19, 2015, this cause is hereby dismissed.




APPROVED:


s/ S. Thomas Anderson
UNITED STATES DISTRICT COURT

DATE: 8/24/2015                               THOMAS M. GOULD
                                         Clerk of Court


                                                s/Terry L. Haley
                                         (By)    Deputy Clerk
